                Case 23-11469-BLS              Doc 132        Filed 10/12/23       Page 1 of 39




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                               ) Chapter 11
                                                                     )
AMERICAN PHYSICIAN PARTNERS, LLC, et al.,1                           ) Case No. 23-11469 (BLS)
                                                                     )
                                    Debtors.                         ) (Jointly Administered)
                                                                     )


    GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY, AND
       DISCLAIMERS REGARDING DEBTORS’ SCHEDULES OF ASSETS AND
            LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                 American Physician Partners, LLC and its debtor affiliates in the above-captioned
chapter 11 cases filed on September 18, 2023 and September 19, 2023, as applicable, as debtors
and debtors in possession (collectively, the “Debtors”), are filing their respective Schedules of
Assets and Liabilities (each, a “Schedule,” and collectively, the “Schedules”) and Statements of
Financial Affairs (each, a “Statement” and collectively, the “Statements”) in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) pursuant to section 521
of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules
of Bankruptcy Procedure (the “Bankruptcy Rules”).
                These Global Notes and Statements of Limitations, Methodology, and Disclaimers
Regarding Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs (the
“Global Notes”) pertain to, and are incorporated by reference in, and comprise an integral part of
all of the Schedules and Statements. The Global Notes are in addition to the specific notes set forth
below with respect to the Schedules and Statements (the “Specific Notes,” and, together with the
Global Notes, the “Notes”). These Notes should be referred to, and referenced in connection with,
any review of the Schedules and Statements.
                The Schedules and Statements are unaudited and subject to potential adjustment. In
preparing the Schedules and Statements, the Debtors relied on financial data derived from their
books and records that was available at the time of preparation. The Debtors have made reasonable
efforts to ensure that the Schedules and Statements are as accurate and complete as possible under
the circumstances; however, subsequent information or discovery may result in material changes
to the Schedules and Statements and errors or omissions may exist.
                The Debtors reserve all rights to amend or supplement the Schedules and
Statements from time to time, in all respects, as may be necessary or appropriate, including the
right to dispute or otherwise assert offsets or defenses to any claim reflected on the Schedules and
Statements as to amount, liability, classification, identity of Debtor, or to otherwise subsequently

1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of
     American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these
     chapter 11 cases is 5121 Maryland Way, Suite 300, Brentwood, TN 37027.


                                                          1
DOCS_DE:245024.4 03370/001
                Case 23-11469-BLS        Doc 132      Filed 10/12/23     Page 2 of 39




designate any claim as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing
contained in the Schedules, Statements, or Notes shall constitute a waiver of any of the Debtors’
rights or an admission with respect to their chapter 11 cases, including any issues involving
objections to claims, substantive consolidation, equitable subordination, defenses, characterization
or recharacterization of contracts and leases, assumption or rejection of contracts and leases under
the provisions of chapter 3 of the Bankruptcy Code, causes of action arising under the provisions
of chapter 5 of the Bankruptcy Code, or any other relevant applicable laws to recover assets or
avoid transfers.


    A. Global Notes and Overview of Methodology

             The Schedules, Statements, and Notes should not be relied upon by any
persons for information relating to current or future financial conditions, events, or
performance of any of the Debtors or their affiliates.

       1.      Description of the Chapter 11 Cases. On September 18, 2023 and September 19,
2023, as applicable (the “Petition Date”), each of the Debtors commenced a voluntary case under
chapter 11 of the Bankruptcy Code. On September 21, 2023, the Bankruptcy Court entered an
order authorizing the joint administration of the chapter 11 cases pursuant to Bankruptcy Rule
1015(b) [Docket No. 39]. Notwithstanding the joint administration of the Debtors’ cases for
procedural purposes, each Debtor has filed its own Schedules and Statements.

        2.      Basis of Presentation. In the ordinary course of business, the Debtors prepare
consolidated financial statements for financial reporting purposes on a monthly basis. The
Schedules and Statements are unaudited and are the result of the Debtors’ reasonable efforts to
report certain financial information of each Debtor on an unconsolidated basis. The Schedules and
Statements neither purport to represent financial statements prepared in accordance with Generally
Accepted Accounting Principles in the United States (“GAAP”), nor are they intended to be fully
reconciled with the financial statements of each Debtor. The Debtors used reasonable efforts to
attribute the assets and liabilities, certain required financial information, and various cash
disbursements to each individual Debtor entity. Because the Debtors’ accounting systems, policies,
and practices were developed for consolidated reporting purposes rather than for reporting by legal
entity, however, it is possible that not all assets and liabilities have been recorded with the correct
legal entity on the Schedules and Statements.

       3.       Reporting Date. Unless otherwise noted in specific responses, the Schedules and
Statements reflect the Debtors’ books and records as of the close of business on September 18,
2023, or the latest available record date before then.

       4.      Current Values. The assets and liabilities of each Debtor are listed on the basis of
the book value of the asset or liability in the respective Debtor’s accounting books and records.
Unless otherwise noted, the carrying value on each of the Debtor’s books, rather than the current
market value, is reflected in the Schedules and Statements.

       5.     Confidentiality. There may be instances when personal information was not
included or was redacted due to the nature of an agreement between a Debtor and a third party or

                                                  2
DOCS_DE:245024.4 03370/001
                Case 23-11469-BLS        Doc 132      Filed 10/12/23     Page 3 of 39




concerns or to protect the privacy of an individual. Pursuant to the Interim Order (I) Authorizing
the Debtors to (A) File a Consolidated List of Creditors in Lieu of Submitting a Separate Mailing
Matrix for Each Debtor, (B) File a Consolidated List of the Debtors Thirty Largest Unsecured
Creditors, and (C) Redact Certain Personally Identifiable Information for Individual Creditors;
and (II) Granting Related Relief [Docket No. 41], the Debtors are authorized to redact personally
identifiable information from their Schedules and Statements. Further, pursuant to Interim Order
Authorizing Certain Procedures to Maintain Confidentiality of Protected Health Information as
Required by Applicable Privacy Rules [Docket No. 42], the Debtors are also authorized to maintain
the confidentiality of patient information as required by the Health Insurance Portability and
Accountability Act of 1996.

        6.     Consolidated Entity Accounts Payable and Disbursement Systems. As
described in the Motion Regarding Chapter 11 First Day Motions Debtors' Motion for Entry of
Interim and Final Orders Authorizing the Debtors to (A) Continue Operating Cash Management
System, (B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain Existing
Business Forms, and (D) Granting Related Relief [Docket No. 6] (the “Cash Management
Motion”), the Debtors utilize a centralized cash management system in the ordinary course of
business to collect, concentrate, and disburse funds generated by their operations. In the ordinary
course of business, the Debtors maintained business relationships among each other, which result
in intercompany receivables (the “Intercompany Claims”) arising from intercompany
transactions (the “Intercompany Transactions”). Additional information regarding the
Intercompany Claims and Intercompany Transactions is described in the Cash Management
Motion. Unless otherwise noted, the Debtors have reported the aggregate net intercompany
balances among the Debtors as assets on Schedule A/B or as liabilities on Schedule E/F, as
appropriate.

        7.     Accuracy. The financial information disclosed herein was not prepared in
accordance with federal or state securities laws or other applicable non-bankruptcy law or in lieu
of complying with any periodic reporting requirements thereunder. Persons and entities trading in
or otherwise purchasing, selling, or transferring the claims against or equity interests in the Debtors
should evaluate this financial information considering the purposes for which it was prepared.

       8.      Undetermined Amounts. Claim amounts that could not readily be quantified by
the Debtors are scheduled as “undetermined,” “unknown,” or “N/A.” The description of an amount
as “undetermined,” “unknown,” or “N/A” is not intended to reflect upon the materiality of the
amount.

        9.     Liabilities. The Debtors have sought to allocate liabilities between the prepetition
and post-petition periods based on the information and research conducted in connection with the
preparation of the Schedules and Statements. As additional information becomes available and
further research is conducted, the allocation of liabilities between the prepetition and post-petition
periods may change. Accordingly, the Debtors reserve all of their rights to amend, supplement, or
otherwise modify the Schedules and Statements as is necessary or appropriate.

       10.     Insiders. For purposes of the Schedules and Statements, the Debtors define
“insiders” pursuant to section 101(31) of the Bankruptcy Code as: (a) directors; (b) officers; (c)
persons in control of the Debtors; (d) relatives of the Debtors’ directors, officers, or persons in

                                                  3
DOCS_DE:245024.4 03370/001
                Case 23-11469-BLS       Doc 132      Filed 10/12/23     Page 4 of 39




control of the Debtors; and (e) debtor/non-Debtor affiliates of the foregoing. Persons listed as
“insiders” have been included for informational purposes only and by including them in the
Schedules, shall not constitute an admission that those persons are insiders for purposes of section
101(31) of the Bankruptcy Code. Moreover, the Debtors do not take any position with respect to:
(a) any insider’s influence over the control of the Debtors; (b) the management responsibilities or
functions of any such insider; (c) the decision making or corporate authority of any such insider;
or (d) whether the Debtors or any such insider could successfully argue that he or she is not an
“insider” under applicable law or with respect to any theories of liability or for any other purpose.
The listing of a party as an “insider” is not intended to be nor should be construed as a legal
characterization of such party as an insider and does not act as an admission of any fact, Claim,
right, or defense, and all such rights, Claims, and defenses are hereby expressly reserved.

         11.   Totals. All totals that are included in the Schedules and Statements represent totals
of all the known amounts included in the Schedules and Statements and exclude items identified
as “unknown” or “undetermined.” If there are unknown or undetermined amounts, the actual totals
may be materially different from the listed totals.

       12.    Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
unless otherwise indicated.

        13.      Payment of Prepetition Claims Pursuant to First Day Orders. The Debtors have
requested authority to pay certain outstanding prepetition claims pursuant to orders entered by this
court after the initial hearing in these cases (collectively, the “First Day Orders”). The Schedules
and Statements reflect the Debtors’ outstanding liabilities in their amounts owed as of the Petition
Date without reducing liabilities on account of any payments authorized under the First Day
Orders. If liabilities on account of prepetition wages and benefits have been satisfied in full, they
are not listed on the Schedules and Statements unless otherwise noted.

       14.     Other Paid Claims. If the Debtors have reached any post-petition settlement with
a vendor or other creditor, the terms of such settlement will prevail, supersede amounts listed in
the Schedules and Statements, and shall be enforceable by all parties.

        15.     Setoffs. The Debtors routinely incurred certain setoffs from customers and
suppliers in the ordinary course of business. Setoffs in the ordinary course can result from various
items including pricing discrepancies, customer programs, returns, and other disputes between the
Debtors and their customers or suppliers. In the ordinary course of business, the Debtors would
setoff invoices with credit memos. These routine setoffs were consistent with the ordinary course
of business in the Debtors’ industry, and, therefore, were particularly voluminous, unduly
burdensome, and costly for the Debtors to regularly document. Therefore, although such setoffs
and other similar rights may have been accounted for when scheduling certain amounts, these
ordinary course setoffs are not always independently accounted for and may be excluded from the
Schedules and Statements.

       16.   Revenue Cycle Management Procedures. As discussed in the Declaration of
John C. DiDonato in Support of the Debtors’ Chapter 11 Petitions and First Day Relief (the “First
Day Declaration”), historically, most of the Company’s revenue has been attributable to
agreements with emergency departments under the AR contracts model, where typically the


                                                 4
DOCS_DE:245024.4 03370/001
                Case 23-11469-BLS        Doc 132       Filed 10/12/23    Page 5 of 39




Company (1) provided the staffing/management services and (2) was responsible for coding,
billing, and collecting the fees billed for services from Medicaid, Medicare, Blue Cross Blue
Shield, commercial payors, insurance companies and/or the patients and related services
(“Revenue Cycle Management” or “RCM Services”). Commencing in September 2019, the
Debtors contracted with and utilized a non-affiliate service provider – Medical Consultants, Inc.
(“MCI”), a subsidiary of RI RCM Holdco, Inc. (“R1”) – to provide the RCM Services for the
Debtors. MCI has been the exclusive Revenue Cycle Management provider for the Company for
the past several years and, because of the relationship, maintains voluminous records/documents
with history and supporting and claims processing details. The Debtors have used their best efforts
to insure that the information contained in the Schedules, Statements, or Notes includes, where
necessary, all assets and liabilities of the Debtors as reflected in records maintained by R1 as
related to the RCM Services.

       17.     Debtors’ Reservation of Rights. Nothing contained in the Schedules, Statements,
or Notes shall constitute a waiver of rights with respect to these chapter 11 cases, including the
following:

                 a. Any failure to designate a claim listed on the Schedules and Statements as
                    “disputed,” “contingent,” or “unliquidated” does not constitute an admission by
                    the Debtors that such amount is not “disputed,” “contingent,” or “unliquidated.”
                    The Debtors reserve the right to dispute and to assert setoff rights,
                    counterclaims, and defenses to any claim reflected on the Schedules as to
                    amount, liability, and classification, and to otherwise subsequently designate
                    any claim as “disputed,” “contingent,” or “unliquidated.”

                 b. Notwithstanding that the Debtors have made reasonable efforts to correctly
                    characterize, classify, categorize, or designate certain claims, assets, executory
                    contracts, unexpired leases, and other items reported in the Schedules and
                    Statements, the Debtors nonetheless may have improperly characterized,
                    classified, categorized, or designated certain items. The Debtors thus reserve all
                    rights to recharacterize, reclassify, recategorize, or redesignate items reported
                    in the Schedules and Statements at a later time as is necessary and appropriate.

                 c. The listing of a claim or agreement (i) on Schedule D as “secured,” (ii) on
                    Schedule E/F (Part 1) as “priority,” (iii) on Schedule E/F (Part 2) as
                    “unsecured,” or (iv) on Schedule G as “executory” or “unexpired” does not
                    constitute an admission by the Debtors of the legal rights of the claimant, the
                    executory nature of the agreement under section 365 of the Bankruptcy Code,
                    or a waiver of the Debtors’ rights to recharacterize or reclassify such claim or
                    agreement pursuant to a schedule amendment, claim objection or otherwise.
                    Moreover, although the Debtors may have scheduled claims of various creditors
                    as secured claims for informational purposes, no current valuation of the
                    Debtors’ assets in which such creditors may have a security interest has been
                    undertaken. Except as provided in an order of the Bankruptcy Court, the
                    Debtors reserve all rights to dispute and challenge the secured nature or amount
                    of any such creditor’s claims or the characterization of the structure of any
                    transaction, or any document or instrument related to such creditor’s claim.

                                                   5
DOCS_DE:245024.4 03370/001
                Case 23-11469-BLS         Doc 132      Filed 10/12/23     Page 6 of 39




                 d. In the ordinary course of their businesses, the Debtors leased equipment and
                    other assets from certain third-party lessors for use in their daily operations. The
                    Debtors have made commercially reasonable efforts to list any such leases in
                    Schedule G, and any current amounts due under such leases that were
                    outstanding as of the Petition Date are listed on Schedule E/F. Except as
                    otherwise noted herein, the property subject to any such lease is not reflected in
                    Schedule A/B as either owned property or an asset of the Debtors, and neither
                    is such property or assets of third parties within the control of the Debtors
                    Nothing in the Schedules is or shall be construed as an admission or
                    determination as to the legal status of any lease (including whether any lease is
                    a true lease or a financing arrangement), and the Debtors reserve all rights with
                    respect to any of such issues, including the recharacterization thereof.

                 e. The claims of individual creditors for, among other things, goods, products,
                    services or taxes are listed as the amounts entered on the Debtors’ books and
                    records and may not reflect credits, allowances or other adjustments due from
                    such creditors to the Debtors. The Debtors reserve all of their rights with regard
                    to such credits, allowances and other adjustments, including the right to assert
                    claims objections or setoffs with respect to the same.

                 f. The Debtors’ businesses were part of a complex enterprise. Although the
                    Debtors have exercised their reasonable efforts to ensure the accuracy of their
                    Schedules and Statements, they nevertheless may contain errors and omissions.
                    The Debtors hereby reserve all their rights to dispute the validity, status, and
                    enforceability of any contracts, agreements, and leases identified in the
                    Schedules and Statements, and to amend and supplement the Schedules and
                    Statements as necessary.

                 g. The Debtors further reserve all their rights, claims, and causes of action with
                    respect to the contracts and agreements listed on the Schedules and Statements,
                    including the right to dispute and challenge the characterization or the structure
                    of any transaction, document, and instrument related to a creditor’s claim.

                 h. The Debtors exercised their reasonable efforts to locate and identify guarantees
                    and other secondary liability claims (the “Guarantees”) in their executory
                    contracts, unexpired leases, secured financings, debt instruments, and other
                    agreements. If such Guarantees have been identified, they are included in the
                    relevant Schedules and Statements. Guarantees embedded in the Debtors’
                    executory contracts, unexpired leases, secured financings, debt instruments, and
                    other agreements may have been omitted inadvertently. Thus, the Debtors
                    reserve their rights to amend and supplement the Schedules and Statements if
                    additional Guarantees are identified. In addition, the Debtors reserve the right
                    to amend the Schedules and Statements to re-characterize and reclassify any
                    such contract or claim.

       18.    Global Notes Control. If the Schedules or Statements differ from any of the
foregoing Global Notes, the Global Notes shall control.

                                                   6
DOCS_DE:245024.4 03370/001
                Case 23-11469-BLS        Doc 132      Filed 10/12/23    Page 7 of 39




    B. Specific Notes for Schedules

        1.       Schedule A/B.

                 a. A/B.3. The values provided for in Schedule A/B, Item 3 for each account for a
                    given Debtor reflects the book ending cash balance of such account as of the
                    Petition Date.

                 b. A/B. 11. Amounts listed reflect net patient receivable.

                 c. A/B. 15. Investments are listed as having an undetermined value.

                 d. A/B. 38-41. The Debtors’ furniture, fixtures and equipment are listed at net
                    book value.

                 e. A/B. 73. The Debtors may have certain residual amounts owed to them from
                    their medical malpractice insurance provider. These include: (i) overpayments
                    of premiums for policy periods ended June 29, 2023 wherein the provider
                    currently holds approximately $48 million in total; (ii) return of certain
                    premiums paid for policy year beginning June 30, 2023 in the amount of
                    approximately $1.3 million, which policy the provider has attempted to rescind
                    and which rescission the Debtors dispute; and (iii) certain policy dividends for
                    prior years owed to the Debtors which the provider has refused to pay, citing
                    ongoing disputes.

                 f. A/B.70–77. Despite exercising commercially reasonable efforts to identify all
                    known assets, the Debtors may not have listed all their causes of action or
                    potential causes of action against third parties as assets in their Schedules.

        2.     Schedule D. Certain of the claims listed on Schedule D, as well as the Guarantees
of those claims listed on Schedule H, arose, and were incurred on various dates; a determination
of the date upon which each claim arose or was incurred would be unduly burdensome and cost
prohibitive. Accordingly, not all these dates are included for each such claim. To the best of the
Debtors’ knowledge, all claims listed on Schedule D arose or were incurred before the Petition
Date. The amounts in Schedule D are consistent with the Debtors’ stipulations set forth in the
Motion to Approve Use of Cash Collateral Motion of the Debtors Pursuant to Sections 105, 361,
362, 363 and 507 of the Bankruptcy Code, Bankruptcy Rule 4001, and Local Rule 4001-2 for
Interim and Final Orders (A) Authorizing Debtors to Use Cash Collateral, (B) Granting Adequate
Protection to Prepetition Secured Parties, (C) Modifying the Automatic Stay, and (D) Scheduling
a Final Hearing [Docket No. 10] (the “Cash Collateral Motion”), which are subject to
investigation and challenge by the Official Committee of Unsecured Creditors or other parties in
interest.

              Except as otherwise agreed to or stated pursuant to a stipulation or order entered by
the Bankruptcy Court that is or becomes final, including any final order approving the Cash
Collateral Motion, the Debtors and their estates and, subject to the foregoing limitations, note as

                                                  7
DOCS_DE:245024.4 03370/001
                Case 23-11469-BLS       Doc 132       Filed 10/12/23    Page 8 of 39




follows: (a) although the Debtors may have scheduled claims of various creditors as secured
claims for informational purposes, no current valuation of the Debtors’ assets in which such
creditors may have a lien has been undertaken; (b) the descriptions provided on Schedule D only
are intended to be a summary; and (c) the Debtors have not included on Schedule D claims that
were secured by property for which the collateral was not in the Debtors’ possession as of the
Petition Date.

              Reference to the applicable loan agreements and related documents is necessary for
a complete description of the collateral and the nature, extent, and priority of any liens.

               Except as specifically stated herein, real property lessors, equipment lessors, utility
companies, and other parties which may hold security deposits or other security interests have not
been listed on Schedule D.

               The Debtors have not listed on Schedule D any parties whose claims may be
secured through rights of setoff, deposits, or advance payments posted by, or on behalf of, the
Debtors, or judgment or statutory lien rights.

        3.       Schedule E/F

                 a.          Part 1.

               Certain of the claims listed on Schedule E/F (Part 1) arose and were incurred on
multiple dates; a determination of the date upon which each claim arose or was incurred would be
unduly burdensome and cost prohibitive. Accordingly, not all these multiple dates are included for
each such claim.

                 The liabilities listed on Schedule E/F (Part 1) do not reflect any analysis of such
claims under sections 503 or 507 of the Bankruptcy Code. The Debtors reserve the right to dispute
or challenge whether creditors listed on Schedule E/F are entitled to priority status pursuant to
sections 503 or 507 of the Bankruptcy Code. The listing of a claim on Schedule E/F, Part 1, does
not constitute an admission by the Debtors that such claim or any portion thereof is entitled to
priority status.

                Claims owing to various taxing authorities to which the Debtors potentially may be
liable are included on the Debtors’ Schedule E/F. Certain of such claims, however, may be subject
to ongoing audits or the Debtors otherwise are unable to determine with certainty the amount of
the remaining claims listed on Schedule E/F. Therefore, the Debtors have listed all such claims as
contingent, pending final resolution of ongoing audits or other outstanding issues.

                 b.          Part 2.

                The Debtors have exercised their commercially reasonable efforts to list all
liabilities on Schedule E/F of each applicable Debtor. As a result of the Debtors’ consolidated
operations, however, the reader should review Schedule E/F for all Debtors in these cases for a
complete understanding of the unsecured debts of the Debtors. Certain creditors listed on Schedule
E/F may owe amounts to the Debtors, and, as such, the Debtors may have valid setoff and
recoupment rights with respect to such amounts. The amounts listed on Schedule E/F may not

                                                  8
DOCS_DE:245024.4 03370/001
                Case 23-11469-BLS       Doc 132       Filed 10/12/23    Page 9 of 39




reflect any such right of setoff or recoupment, and the Debtors reserve all rights to assert the same
and to dispute and challenge any setoff or recoupment rights that may be asserted against the
Debtors by a creditor. Additionally, certain creditors may assert liens against the Debtors for
amounts listed on Schedule E/F. The Debtors reserve their rights to dispute and challenge the
validity, perfection, and immunity from avoidance of any lien purported to be perfected by a
creditor listed on Schedule E/F of any Debtor. In addition, certain claims listed on Schedule E/F
(Part 2) may be entitled to priority under section 503(b)(9) of the Bankruptcy Code.

               The Debtors have included trade creditors and taxing authorities on Schedule E/F,
some of whose claims may have been satisfied, in whole or in part, pursuant to the First Day
Orders. Notwithstanding the foregoing, the Debtors have reflected the prepetition liabilities of such
trade creditors and taxing authorities as of the Petition Date. Moreover, Schedule E/F does not
include certain balances including deferred liabilities, accruals, or general reserves. The accruals
primarily represent general estimates of liabilities and do not represent specific claims as of the
Petition Date. The Debtors have made reasonable efforts to include as contingent, unliquidated, or
disputed the claim of any party not included on the Debtors’ open accounts payable that is
associated with an account that has an accrual or receipt not invoiced.

               Intercompany payables among the Debtors are reported on Schedule E/F, which
may or may not result in allowed or enforceable claims by or against a given Debtor. The
intercompany payables also may be subject to recoupment, netting, or other adjustments made
pursuant to customary intercompany policies and practices not reflected in the Schedules.

                To the extent practicable, Schedule E/F is intended to reflect the balance as of the
Petition Date. Despite the Debtors’ reasonable best efforts, to the extent an unsecured claim has
been paid or may be paid, it is possible such claim is not included on Schedule E/F. Certain Debtors
may pay additional claims listed on Schedule E/F during these chapter 11 cases pursuant to these
and other orders of the Bankruptcy Court and the Debtors reserve all of their rights to update
Schedule E/F to reflect such payments or to modify the claims register to account for the
satisfaction of such claim. Additionally, Schedule E/F does not include any potential rejection
damage claims of the counterparties to executory contracts and unexpired leases that may be
rejected.

                As of the time of filing the Schedules and Statements, the Debtors had not received
all invoices for payables, expenses, and other liabilities that may have accrued prior to the Petition
Date. Accordingly, the information contained in Schedules D and E/F may be incomplete. The
Debtors reserve their rights to amend Schedules D and E/F if and as they receive such invoices.

       4.     Schedule G. Although reasonable efforts have been made to ensure the accuracy
of Schedule G regarding executory contracts and unexpired leases (collectively, the
“Agreements”), review is ongoing and inadvertent errors, omissions or overinclusion may have
occurred. The Debtors may have entered into various other types of Agreements in the ordinary
course of their businesses, such as indemnity agreements, supplemental agreements, and
amendments/letter agreements that may not be set forth in Schedule G. The Agreements listed on
Schedule G may have expired or may have been modified, amended, or supplemented from time
to time by various amendments, restatements, waivers, estoppel certificates, letter and other
documents, instruments and agreements that may not be listed on Schedule G. Executory

                                                  9
DOCS_DE:245024.4 03370/001
               Case 23-11469-BLS        Doc 132       Filed 10/12/23    Page 10 of 39




agreements that are oral in nature have not been included in Schedule G. Certain of the Agreements
listed on Schedule G may have been entered into on behalf of more than one of the Debtors. Listing
a contract or agreement on Schedule G does not constitute an admission that such contract or
agreement is an executory contract or unexpired lease or that such contract or agreement was in
effect on the Petition Date or is valid or enforceable. The Debtors hereby reserve all their rights to
dispute the validity, status, or enforceability of any contracts, agreements, or leases set forth in
Schedule G and to amend or supplement such Schedule as necessary.

        5.      Schedule H. The Debtors are party to certain prepetition secured credit agreements
which were executed by multiple Debtors. The obligations of guarantors under the prepetition
secured credit agreements are noted on Schedule H for each individual debtor. Furthermore, the
Debtors may not have identified certain guarantees that are embedded in the Debtors’ executory
contracts, unexpired leases, secured financings, debt instruments and other such agreements. No
claim set forth on the Schedules and Statements of any Debtor is intended to acknowledge claims
of creditors that are otherwise satisfied or discharged by other Debtors.

    C. Specific Notes for Statements

        1.      Statement 1 and 2. The gross revenue and non-business revenue reported for the
current fiscal year are through September 18, 2023.

        2.      Statement 3. The payments disclosed in Statement 3 are based on payments made
by the Debtors with payment dates from June 20, 2023 to September 18, 2023. The actual dates
that cash cleared the Debtors’ bank accounts may differ based on the form of payment. The
Debtors’ accounts payable system does not include the corresponding payment clear dates and
compiling this data would have required a time-consuming manual review of individual bank
statements. It is expected, however, that many payments included in Statement 3 have payment
clear dates that are the same as payment dates (e.g., wires and other forms of electronic payments).

        3.      Statement 4. As more fully described in the Cash Management Motion,
prepetition, the Debtors engaged in intercompany transactions (“Intercompany Transactions”)
with each other in the ordinary course of their business. American Physician Holdings LLC is a
party to various management services agreements with certain of the other operating Debtors
(collectively, the “Management Services Agreements”). In general, American Physician
Holdings LLC provides managerial and professional services to the operating Debtors (other than
services relating to the practice of medicine) and pays substantially all their operating expenses.
The Debtors’ operating companies transfer deposits made into their applicable bank accounts to
the concentration account. The Debtors have included the monthly activity between the Debtors.
Payments to members of the Board of Managers, including Jim Decker, Jay Martus, James Frary
and Lawerence Hirsh include amounts for outside counsel. These amounts were allocated among
the aforementioned parties, during their tenure.

        4.      Statement 6. The items listed in Statement 6 are instances where the Debtors
specifically allowed and agreed to an offset of the Debtor’s accounts payable against the Debtor’s
accounts receivable. The Debtors have not included in Statement 6 (a) any patient refund programs
managed by R1 that would offset the expected accounts receivable in the ordinary course of
business. The Debtors listed the offset previously agreed upon in the Debtors’ prepetition

                                                 10
DOCS_DE:245024.4 03370/001
               Case 23-11469-BLS        Doc 132       Filed 10/12/23    Page 11 of 39




agreement with Sapientes Funding II (“Sapientes”) for the collection of certain accounts
receivable. The Debtors also listed setoffs to stipend accounts receivable due to transition related
activities in which successors agreed to provide active providers with prior acts coverage.

        5.      Statement 7. The Debtors have used reasonable efforts to report all legal actions,
proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in
which the Debtors were involved in any capacity within one year before the Petition Date. The
Debtors reserve their rights to assert that neither the Debtors nor any affiliate of the Debtors is an
appropriate party to such actions or proceedings. The Debtors are working with their insurance
carriers to obtain details relating to workers’ compensation, auto and general liability, medical
malpractice claims and, if necessary, will supplement the Statement when received.

       6.       Statement 9. The amounts listed were based on a manual review of items in the
Debtors’ books and records determined to be gifts or charitable contributions. As a result,
inadvertent errors or omissions may exist. Further, other gifts may exist that are below the $1,000
threshold per recipient that are not captured herein. In the ordinary course of business, the company
undertakes sponsorship activities.

        7.      Statement 11. The Debtors have used reasonable efforts to identify payments for
services of any entities who provided consultation concerning debt counseling or restructuring
services, relief under the Bankruptcy Code or preparation of a petition in bankruptcy within one
year immediately before the Petition Date, which are identified in the Debtors’ response to
Statement 11. Additional information regarding the Debtors’ retention of professional service
firms is and will be more fully described in the individual retention applications for those firms
and any related orders. Amounts listed reflect the total amounts paid to these respective firms as
bifurcating the specific restructuring activities would be administratively burdensome.

        8.      Statement 13. As described in the First Day Declaration the Debtors facilitated the
orderly transitions of approximately 150 emergency department and hospital medicine contracts
to alternative service providers and its health system/hospital partners who provided insourced
solutions by the end of July 2023, and have been listed with an undetermined value.

        9.     Statement 16.The Debtors, via their Revenue Cycle Manager, have access to
patient records. The Debtors adhere to HIPAA requirements and policies and have information
security protocols to safeguard personally identifiable information.

        10.     Statement 26(d). Over the past two years, the Debtors have provided their financial
statements via physical and electronic mail to various parties in the ordinary course of business,
including current or potential secured lenders, government entities, shareholders, customers, and
other interested parties. Professionals retained by the Debtors prior to the Petition Date also ran a
comprehensive marketing and sale process and disclosed substantial financial information to
numerous interested parties. Parties provided with historical financial information as part of the
Debtors’ marketing and sale process have not been listed on Statement 26(d). Recipients of
financial information generally received consolidated accounts for the Debtors.




                                                 11
DOCS_DE:245024.4 03370/001
                                              Case 23-11469-BLS                                        Doc 132                    Filed 10/12/23                  Page 12 of 39
  Fill in this information to identify the case:

 Debtor        APP OF SOUTHERN NEW MEXICO ED, PLLC


 United States Bankruptcy Court for the:                   Delaware


 Case number             23-11562
  (if known)
                                                                                                                                                                                  ¨ Check if this is an
                                                                                                                                                                                     amended filing

 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                            12/15




  Part 1:        Summary of Assets




 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)


     1a.       Real property:
                                                                                                                                                                                  NOT APPLICABLE
               Copy line 88 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .



     1b.       Total personal property:
                                                                                                                                                                                             $0.00
               Copy line 91A from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .



     1c.       Total of all property:
                                                                                                                                                                                             $0.00
               Copy line 92 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




    Part 2:         Summary of Liabilities




   2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                   $594,227,927.00
        Copy the total dollar amount listed in Column A , Amount of claim, from line 3 of Schedule D . . . . . . . . .




   3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206EF)


        3a.      Total claim amounts of priority unsecured claims:
                                                                                                                                                                                  NOT APPLICABLE
                 Copy the total claims from Part 1 from line 5a of Schedule E/F . . . . . . . . . . . . . . . . . . . . . . . . . . . .



        3b.      Total amount of claims of nonpriority amount of unsecured claims:
                 Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F . . . . . . . . . . . . . .
                                                                                                                                                                     +                  UNKNOWN




   4. Total liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                                   $594,227,927.00
        Lines 2 + 3a + 3b




Official Form 206Sum                                                                                                                                                                           Page 1 of 1
                                     Case 23-11469-BLS               Doc 132              Filed 10/12/23            Page 13 of 39
  Fill in this information to identify the case:

 Debtor        APP OF SOUTHERN NEW MEXICO ED, PLLC


 United States Bankruptcy Court for the:       Delaware


 Case number         23-11562
  (if known)
                                                                                                                                                ¨ Check if this is an
                                                                                                                                                   amended filing

 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                                  12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
 have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
 unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
 debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
 sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1:        CASH AND CASH EQUIVALENTS

 1.     DOES THE DEBTOR HAVE ANY CASH OR CASH EQUIVALENTS?
        ¨ No. Go to Part 2.
        þ Yes. Fill in the information below.


                                                                                                                                                Current value of
           All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                                debtor’s interest

 2.     CASH ON HAND

        NONE


 3.     CHECKING, SAVINGS, MONEY MARKET, OR FINANCIAL BROKERAGE ACCOUNTS
        (IDENTIFY ALL)
        Name of institution (bank or brokerage firm)                        Type of account                Last 4 digits of account number

        3.1.       CADENCE BANK                                             0862                                                                                     $0.00

 4.     OTHER CASH EQUIVALENTS

        NONE


 5      Total of Part 1.
        ADD LINES 2 THROUGH 4 (INCLUDING AMOUNTS ON ANY ADDITIONAL SHEETS). COPY THE                                                                                 $0.00
        TOTAL TO LINE 80.

 Part 2:        DEPOSITS AND PREPAYMENTS

 6.     DOES THE DEBTOR HAVE ANY DEPOSITS OR PREPAYMENTS?
        þ No. Go to Part 3.
        ¨ Yes. Fill in the information below.


                                                                                                                                                Current value of
                                                                                                                                                debtor’s interest

 7.     DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS
        DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT




Official Form 206A/B                                      Schedule A/B: Assets - Real and Personal Property                                                   Page 1 of 7
 Debtor                          Case 23-11469-BLS
              APP OF SOUTHERN NEW MEXICO ED, PLLC              Doc 132          Filed Case
                                                                                      10/12/23
                                                                                           number   (if known)   Page   14 of 39
                                                                                                                   23-11562

              (Name)



                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest

 8.    PREPAYMENTS, INCLUDING PREPAYMENTS ON EXECUTORY CONTRACTS, LEASES,
       INSURANCE, TAXES, AND RENT
       DESCRIPTION, INCLUDING NAME OF HOLDER OF PREPAYMENT


 9     Total of Part 2.
       ADD LINES 7 THROUGH 8. COPY THE TOTAL TO LINE 81.                                                                                  NOT APPLICABLE


 Part 3:      ACCOUNTS RECEIVABLE

 10.   DOES THE DEBTOR HAVE ANY ACCOUNTS RECEIVABLE?
       þ No. Go to Part 4.
       ¨ Yes. Fill in the information below.


                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest

 11.   ACCOUNTS RECEIVABLE


 12    Total of Part 3.
       CURRENT VALUE ON LINES 11A + 11B = LINE 12. COPY THE TOTAL TO LINE 82.                                                             NOT APPLICABLE


 Part 4:      INVESTMENTS

 13.   DOES THE DEBTOR OWN ANY INVESTMENTS?
       þ No. Go to Part 5.
       ¨ Yes. Fill in the information below.


                                                                                                        Valuation method used      Current value of
                                                                                                        for current value          debtor’s interest

 14.   MUTUAL FUNDS OR PUBLICLY TRADED STOCKS NOT INCLUDED IN PART 1
       NAME OF FUND OR STOCK:


 15.   NON-PUBLICLY TRADED STOCK AND INTERESTS IN INCORPORATED AND
       UNINCORPORATED BUSINESSES, INCLUDING ANY INTEREST IN AN LLC, PARTNERSHIP,
       OR JOINT VENTURE


 16.   GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
       NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1
       DESCRIBE:


 17    Total of Part 4.
       ADD LINES 14 THROUGH 16. COPY THE TOTAL TO LINE 83.                                                                                NOT APPLICABLE


 Part 5:      INVENTORY, EXCLUDING AGRICULTURE ASSETS

 18.   DOES THE DEBTOR OWN ANY INVENTORY (EXCLUDING AGRICULTURE ASSETS)?
       þ No. Go to Part 6.
       ¨ Yes. Fill in the information below.


                                                     Date of the last         Net book value of         Valuation method used      Current value of
           General description
                                                     physical inventory       debtor's interest         for current value          debtor’s interest
                                                                              (Where available)

 19.   RAW MATERIALS


 20.   WORK IN PROGRESS




Official Form 206A/B                                Schedule A/B: Assets - Real and Personal Property                                            Page 2 of 7
 Debtor                          Case 23-11469-BLS
              APP OF SOUTHERN NEW MEXICO ED, PLLC                       Doc 132           Filed Case
                                                                                                10/12/23
                                                                                                     number  (if known)   Page   15 of 39
                                                                                                                            23-11562

              (Name)



                                                              Date of the last          Net book value of        Valuation method used         Current value of
           General description
                                                              physical inventory        debtor's interest        for current value             debtor’s interest
                                                                                        (Where available)

 21.   FINISHED GOODS, INCLUDING GOODS HELD FOR RESALE


 22.   OTHER INVENTORY OR SUPPLIES


 23    Total of Part 5.
       ADD LINES 19 THROUGH 22. COPY THE TOTAL TO LINE 84.                                                                                               NOT APPLICABLE

 24.   Is any of the property listed in Part 5 perishable?
       þ No
       ¨ Yes

 25.   Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       þ No
       ¨ Yes        Book value                         Valuation method                                                                  Current value

 26.   Has any of the property listed in Part 5 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 6:      FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND LAND)

 27.   DOES THE DEBTOR OWN OR LEASE ANY FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND
       LAND)?
       þ No. Go to Part 7.
       ¨ Yes. Fill in the information below.

                                                                                        Net book value of        Valuation method used         Current value of
           General description
                                                                                        debtor's interest        for current value             debtor’s interest
                                                                                        (Where available)

 28.   CROPS—EITHER PLANTED OR HARVESTED


 29.   FARM ANIMALS EXAMPLES: LIVESTOCK, POULTRY, FARM-RAISED FISH EXAMPLES:
       LIVESTOCK, POULTRY, FARM-RAISED FISH


 30.   FARM MACHINERY AND EQUIPMENT (OTHER THAN TITLED MOTOR VEHICLES) (OTHER
       THAN TITLED MOTOR VEHICLES)


 31.   FARM AND FISHING SUPPLIES, CHEMICALS, AND FEED


 32.   OTHER FARMING AND FISHING-RELATED PROPERTY NOT ALREADY LISTED IN PART 6


 33    Total of Part 6.
       ADD LINES 28 THROUGH 32. COPY THE TOTAL TO LINE 85.                                                                                               NOT APPLICABLE

 34.   Is the debtor a member of an agricultural cooperative?
       þ No
       ¨ Yes. Is any of the debtor’s property stored at the cooperative?
             ¨ No
             ¨ Yes

 35.   Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       þ No
       ¨ Yes

 36.   Is a depreciation schedule available for any of the property listed in Part 6?
       þ No
       ¨ Yes

 37.   Has any of the property listed in Part 6 been appraised by a professional within the last year?
       þ No
       ¨ Yes




Official Form 206A/B                                         Schedule A/B: Assets - Real and Personal Property                                                Page 3 of 7
 Debtor                           Case 23-11469-BLS
              APP OF SOUTHERN NEW MEXICO ED, PLLC                        Doc 132          Filed Case
                                                                                                10/12/23
                                                                                                     number (if known)   Page   16 of 39
                                                                                                                           23-11562

              (Name)


 Part 7:      OFFICE FURNITURE, FIXTURES, AND EQUIPMENT; AND COLLECTIBLES

 38.   DOES THE DEBTOR OWN OR LEASE ANY OFFICE FURNITURE, FIXTURES, EQUIPMENT, OR COLLECTIBLES?
       þ No. Go to Part 8.
       ¨ Yes. Fill in the information below.


                                                                                        Net book value of       Valuation method used      Current value of
           General description
                                                                                        debtor's interest       for current value          debtor’s interest
                                                                                        (Where available)

 39.   OFFICE FURNITURE


 40.   OFFICE FIXTURES


 41.   OFFICE EQUIPMENT, INCLUDING ALL COMPUTER EQUIPMENT AND COMMUNICATION
       SYSTEMS EQUIPMENT AND SOFTWARE


 42.   COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS, PRINTS, OR
       OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA AND
       CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS; OTHER COLLECTIONS,
       MEMORABILIA, OR COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS,
       PRINTS, OR OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA
       AND CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS; OTHER
       COLLECTIONS, MEMORABILIA, OR COLLECTIBLES


 43    Total of Part 7.
       ADD LINES 39 THROUGH 42. COPY THE TOTAL TO LINE 86.                                                                                        NOT APPLICABLE


 44.   Is a depreciation schedule available for any of the property listed in Part 7?
       þ No
       ¨ Yes

 45.   Has any of the property listed in Part 7 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 8:      MACHINERY, EQUIPMENT, AND VEHICLES

 46.   DOES THE DEBTOR OWN OR LEASE ANY MACHINERY, EQUIPMENT, OR VEHICLES?
       þ No. Go to Part 9.
       ¨ Yes. Fill in the information below.


           General description                                                          Net book value of       Valuation method used      Current value of
           Include year, make, model, and identification numbers (i.e., VIN,            debtor's interest       for current value          debtor’s interest
           HIN, or N-number)                                                            (Where available)


 47.   AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
       VEHICLES


 48.   WATERCRAFT, TRAILERS, MOTORS, AND RELATED ACCESSORIES EXAMPLES: BOATS,
       TRAILERS, MOTORS, FLOATING HOMES, PERSONAL WATERCRAFT, AND FISHING
       VESSELS


 49.   AIRCRAFT AND ACCESSORIES


 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)


 51    Total of Part 8.
       ADD LINES 47 THROUGH 50. COPY THE TOTAL TO LINE 87.                                                                                        NOT APPLICABLE


 52.   Is a depreciation schedule available for any of the property listed in Part 8?
       þ No
       ¨ Yes


Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                            Page 4 of 7
 Debtor                            Case 23-11469-BLS
               APP OF SOUTHERN NEW MEXICO ED, PLLC                    Doc 132             Filed Case
                                                                                                10/12/23
                                                                                                     number  (if known)   Page   17 of 39
                                                                                                                            23-11562

               (Name)



 53.   Has any of the property listed in Part 8 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 9:       REAL PROPERTY

 54.   DOES THE DEBTOR OWN OR LEASE ANY REAL PROPERTY?
       þ No. Go to Part 10.
       ¨ Yes. Fill in the information below.

 55.   ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST


                                                           Nature and extent            Net book value of        Valuation method used      Current value of
           Description and location of property
           Include street address or other description     of debtor’s                  debtor's interest        for current value          debtor’s interest
           such as Assessor Parcel Number (APN), and       interest in                  (Where available)
           type of property (for example, acreage,         property
           factory, warehouse, apartment or office
           building), if available



 56    Total of Part 9.
       ADD THE CURRENT VALUE ON LINES 55.1 THROUGH 55.6 AND ENTRIES FROM ANY                                                                       NOT APPLICABLE
       ADDITIONAL SHEETS. COPY THE TOTAL TO LINE 88.

 57.   Is a depreciation schedule available for any of the property listed in Part 9?
       þ No
       ¨ Yes

 58.   Has any of the property listed in Part 9 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 10:      INTANGIBLES AND INTELLECTUAL PROPERTY

 59.   DOES THE DEBTOR HAVE ANY INTERESTS IN INTANGIBLES OR INTELLECTUAL PROPERTY?
       þ No. Go to Part 11.
       ¨ Yes. Fill in the information below.


                                                                                        Net book value of        Valuation method used      Current value of
           General description
                                                                                        debtor's interest        for current value          debtor’s interest
                                                                                        (Where available)

 60.   PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS


 61.   INTERNET DOMAIN NAMES AND WEBSITES


 62.   LICENSES, FRANCHISES, AND ROYALTIES


 63.   CUSTOMER LISTS, MAILING LISTS, OR OTHER COMPILATIONS


 64.   OTHER INTANGIBLES, OR INTELLECTUAL PROPERTY


 65.   GOODWILL


 66    Total of Part 10.
       ADD LINES 60 THROUGH 65. COPY THE TOTAL TO LINE 89.                                                                                         NOT APPLICABLE


 67.   Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107) ?
       þ No
       ¨ Yes

 68.   Is there an amortization or other similar schedule available for any of the property listed in Part 10?
       þ No
       ¨ Yes

 69.   Has any of the property listed in Part 10 been appraised by a professional within the last year?
       þ No
       ¨ Yes


Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                                Page 5 of 7
 Debtor                         Case 23-11469-BLS
               APP OF SOUTHERN NEW MEXICO ED, PLLC              Doc 132          Filed Case
                                                                                       10/12/23
                                                                                            number   (if known)   Page   18 of 39
                                                                                                                    23-11562

               (Name)


 Part 11:      ALL OTHER ASSETS

 70.   DOES THE DEBTOR OWN ANY OTHER ASSETS THAT HAVE NOT YET BEEN REPORTED ON THIS FORM?
       INCLUDE ALL INTERESTS IN EXECUTORY CONTRACTS AND UNEXPIRED LEASES NOT PREVIOUSLY REPORTED ON THIS FORM.
       ¨ No. Go to Part 12.
       þ Yes. Fill in the information below.

                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest

 71.   NOTES RECEIVABLE
       DESCRIPTION (INCLUDE NAME OF OBLIGOR)


 72.   TAX REFUNDS AND UNUSED NET OPERATING LOSSES (NOLS)
       DESCRIPTION (FOR EXAMPLE, FEDERAL, STATE, LOCAL)


 73.   INTERESTS IN INSURANCE POLICIES OR ANNUITIES

       73.1.       COALITION INSURANCE SOLUTIONS (COALITION): CYBER LIABILITY - 4TH EXCESS POLICY #                                         UNDETERMINED
                   C-4MFH-239111-CEPMM-2023

       73.2.       ENDURANCE AMERICAN SPECIALTY INSURANCE CO. (SOMPO): CYBER LIABILITY POLICY #                                             UNDETERMINED
                   PRV30002366102

       73.3.       EVANSTON INSURANCE CO. (MARKEL): DIRECTORS & OFFICERS INCL FIDUCIARY POLICY #                                            UNDETERMINED
                   MKLV7MML000027

       73.4.       FEDERAL INSURANCE CO. (CHUBB): CRIME AND EMPLOYED LAWYERS LIABILITY POLICY # 8248-8715                                   UNDETERMINED

       73.5.       FIREMAN'S FUND INSURANCE CO. (ALLIANZ): PROPERTY, GENERAL LIABILITY AND HIRED & NON                                      UNDETERMINED
                   OWNED AUTO LIABILITY POLICY # USC025424230

       73.6.       FREEDOM SPECIALTY INSURANCE CO.                                                                                          UNDETERMINED
                   (NATIONWIDE): EMPLOYMENT PRACTICES LIABILITY POLICY # PHO2308918

       73.7.       GEMINI INSURANCE COMPANY (BERKLEY): DIRECTORS & OFFICERS EXCESS SIDE A DIC POLICY #                                      UNDETERMINED
                   BPRO8093521

       73.8.       HOUSTON CASUALTY CO. (TOKIO MARINE): CYBER LIABILITY - 2ND EXCESS POLICY #                                               UNDETERMINED
                   H23CXS20543-01

       73.9.       MAGMUTUAL INSURANCE CO.: WORKERS' COMPENSATION AND EMPLOYER'S LIABILITY POLICY #                                         UNDETERMINED
                   WCV 0005665 08

       73.10.      PELEUS INSURANCE CO. (ARGO): EXCESS DIRECTORS & OFFICERS INCL FIDUCIARY POLICY #                                         UNDETERMINED
                   MLX4262120‐1

       73.11.      PROFESSIONAL SECURITY INSURANCE CO. (MAGMUTUAL): PROFESSIONAL LIABILITY POLICY # PSL                                     UNDETERMINED
                   09104408

       73.12.      SCOTTSDALE INSURANCE CO. (NATIONWIDE): CYBER LIABILITY - 3RD EXCESS POLICY # XMS230450                                   UNDETERMINED

       73.13.      SYMETRA LIFE INSURANCE COMPANY: KEYMAN INSURANCE POLICY # AA6117563                                                      UNDETERMINED

       73.14.      ZURICH AMERICAN INSURANCE CO.: CYBER LIABILITY - 1ST EXCESS POLICY # SPR 4514845 - 04                                    UNDETERMINED

 74.   CAUSES OF ACTION AGAINST THIRD PARTIES (WHETHER OR NOT A LAWSUIT HAS
       BEEN FILED)


 75.   OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
       NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
       CLAIMS


 76.   TRUSTS, EQUITABLE OR FUTURE INTERESTS IN PROPERTY


 77.   OTHER PROPERTY OF ANY KIND NOT ALREADY LISTED EXAMPLES: SEASON TICKETS,
       COUNTRY CLUB MEMBERSHIP EXAMPLES: SEASON TICKETS, COUNTRY CLUB
       MEMBERSHIP


 78    Total of Part 11.
       ADD LINES 71 THROUGH 77. COPY THE TOTAL TO LINE 90.                                                                                  UNDETERMINED




Official Form 206A/B                                 Schedule A/B: Assets - Real and Personal Property                                            Page 6 of 7
 Debtor                                 Case 23-11469-BLS
              APP OF SOUTHERN NEW MEXICO ED, PLLC                                          Doc 132                 Filed Case
                                                                                                                         10/12/23
                                                                                                                              number      (if known)   Page   19 of 39
                                                                                                                                                         23-11562

              (Name)



 79.   Has any of the property listed in Part 11 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 12:     Summary


 In Part 12 copy all of the totals from the earlier parts of the form.



          Type of property                                                                                   Current value of                    Current value of real
                                                                                                             personal property                   property

 80.   Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                        $0.00


 81.   Deposits and prepayments. Copy line 9, Part 2.


 82.   Accounts receivable. Copy line 12, Part 3.


 83.   Investments. Copy line 17, Part 4.


 84.   Inventory. Copy line 23, Part 5.


 85.   Farming and fishing-related assets. Copy line 33, Part 6.


 86.   Office furniture, fixtures, and equipment; and collectibles.
       Copy line 43, Part 7.

 87.   Machinery, equipment, and vehicles. Copy line 51, Part 8.


 88.   Real property. Copy line 56, Part 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .è                                       N/A


 89.   Intangibles and intellectual property. Copy line 66, Part 10.


 90.   All other assets. Copy line 78, Part 11.                                                                 UNDETERMINED
                                                                                                     +

 91.   Total. Add lines 80 through 90 for each column . . . . . . . . . 91a.                                                     $0.00   + 91b.                          N/A




 92.   Total of all property on Schedule A/B. Lines 91a + 91b = 92 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     $0.00




Official Form 206A/B                                                      Schedule A/B: Assets - Real and Personal Property                                                    Page 7 of 7
                                    Case 23-11469-BLS                    Doc 132              Filed 10/12/23          Page 20 of 39
  Fill in this information to identify the case:

 Debtor        APP OF SOUTHERN NEW MEXICO ED, PLLC


 United States Bankruptcy Court for the:     Delaware


 Case number          23-11562
  (if known)
                                                                                                                                                   ¨ Check if this is an
                                                                                                                                                      amended filing

 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15

 Be as complete and accurate as possible.

 1.     1.     Do any creditors have claims secured by debtor’s property?
        ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        þ Yes. Fill in all of the information below.

  Part 1:       List All Creditors with Secured Claims

                                                                                                                      Column A                     Column B
 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than
        one secured claim, list the creditor separately for each claim.                                               Amount of claim              Value of collateral that
                                                                                                                      Do not deduct the value of   supports this claim
                                                                                                                      collateral.

 2.1            Creditor’s name                                       Describe debtor’s property that is                       $594,227,927.00         UNDETERMINED
                GOLDMAN SACHS SPECIALTY LENDING                       subject to a lien
                GROUP L.P., AS ADMINISTRATIVE                         ALL ASSETS
                Creditor's mailing address                            Describe the lien
                AGENT AND AS COLLATERAL AGENT                         PREPETITION TERM & REVOLVER
                2001 ROSS AVE., SUITE 2800                            LOANS
                DALLAS, TX 75201
                                                                      Is the creditor an insider or related
                Creditor's email address                              party?
                                                                      þ No
                Date or dates debt was incurred
                                                                      ¨ Yes
                VARIOUS
                                                                      Is anyone else liable on this claim?
                Last 4 digits of account number:
                                                                      ¨ No
                                                                      þ Yes
                Do multiple creditors have an interest in the
                same property?                                        As of the petition filing date, the claim is:
                þ No                                                  Check all that apply.
                ¨ Yes                                                 ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed

 2.2            Creditor’s name                                       Describe debtor’s property that is                      UNKNOWN                  UNDETERMINED
                GOLDMAN SACHS SPECIALTY LENDING                       subject to a lien
                GROUP L.P., AS ADMINISTRATIVE                         ALL ASSETS
                Creditor's mailing address                            Describe the lien
                AGENT AND AS COLLATERAL AGENT                         UCC LIEN # 430680193(TN )
                2001 ROSS AVE., SUITE 2800
                                                                      Is the creditor an insider or related
                DALLAS, TX 75201
                                                                      party?
                Creditor's email address                              þ No
                                                                      ¨ Yes
                Date or dates debt was incurred
                VARIOUS                                               Is anyone else liable on this claim?
                                                                      þ No
                Last 4 digits of account number:
                                                                      ¨ Yes
                Do multiple creditors have an interest in the         As of the petition filing date, the claim is:
                same property?                                        Check all that apply.
                þ No                                                  þ Contingent
                ¨ Yes                                                 þ Unliquidated
                                                                      ¨ Disputed

  3.      Total of the dollar amounts from Part 1, Column A, including the amounts from the                                    $594,227,927.00
          Additional Page, if any.




Official Form 206D                                       Schedule D: Creditors Who Have Claims Secured by Property                                                Page 1 of 2
 Debtor                         Case 23-11469-BLS
            APP OF SOUTHERN NEW MEXICO ED, PLLC                        Doc 132           Filed Case
                                                                                               10/12/23
                                                                                                    number     (if known)   Page   21 of 39
                                                                                                                              23-11562

            (Name)


  Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are
 collection agencies, assignees of claims listed above, and attorneys for secured creditors.

 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

   Name and Address                                                                                                         On which line in Part        Last 4 digits of
                                                                                                                            1 did you enter the          account number
                                                                                                                            related creditor?            for ths entity

   KING & SPALDING LLP                                                                                                      Line 2.1
   GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P.
   ATTN: W. AUSTIN JOWERS
   1180 PEACHTREE STREET, NE, SUITE 1600
   ATLANTA, GA 30309




Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                      Page 2 of 2
                                    Case 23-11469-BLS                   Doc 132            Filed 10/12/23               Page 22 of 39
  Fill in this information to identify the case:

 Debtor        APP OF SOUTHERN NEW MEXICO ED, PLLC


 United States Bankruptcy Court for the:   Delaware


 Case number         23-11562
  (if known)
                                                                                                                                                      ¨ Check if this is an
                                                                                                                                                         amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


  Part 1:       List All Creditors with PRIORITY Unsecured Claims


 1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        þ No. Go to Part 2.
        ¨ Yes. Go to line 2.
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims


        Do any creditors have nonpriority unsecured claims? (See 11 U.S.C. § 507).
        ¨ No.
        þ Yes.

 3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
        unsecured claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                                        Amount of claim

 3.1            Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:                          UNDETERMINED
                                                                                      Check all that apply.
                ALABAMA DEPT OF REVENUE
                50 N RIPLEY ST                                                        þ Contingent
                                                                                      þ Unliquidated
                                                                                      þ Disputed
                MONTGOMERY, AL 36130                                                  Basis for the claim:
                Date or dates debt was incurred                                       TAXING AUTHORITY

                VARIOUS                                                               Is the claim subject to offset?
                                                                                      þ No
                Last 4 digits of account number:                                      ¨ Yes

 3.2            Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:                          UNDETERMINED
                                                                                      Check all that apply.
                CITY OF ANNISTON ATTN: FINANCE DEPARTMENT
                4305 MCCLELLAN BLVD                                                   þ Contingent
                                                                                      þ Unliquidated
                                                                                      þ Disputed
                ANNISTON, AL 36206                                                    Basis for the claim:
                Date or dates debt was incurred                                       TAXING AUTHORITY

                VARIOUS                                                               Is the claim subject to offset?
                                                                                      þ No
                Last 4 digits of account number:                                      ¨ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 1 of 9
 Debtor                       Case 23-11469-BLS
            APP OF SOUTHERN NEW MEXICO ED, PLLC                 Doc 132          Filed Case
                                                                                       10/12/23
                                                                                            number     (if known)   Page   23 of 39
                                                                                                                      23-11562

            (Name)


  Part 2:   Additional Page

                                                                                                                                      Amount of claim

 3.3        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            CITY OF ANNISTON ATTN: FINANCE DEPARTMENT
            PO BOX 2168                                                     þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            ANNISTON, AL 36202                                              Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.4        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            CITY OF CADIZ
            63 MAIN STREET, PO BOX 1645                                     þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            CADIZ, KY 42211                                                 Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.5        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            CITY OF CARSLBAD PLANNING, ENGINEERING, AND
            REGULATION DEPARTMENT                                           þ Contingent
            114 S. HALAGUENO STREET, PO BOX 1569                            þ Unliquidated
                                                                            þ Disputed
                                                                            Basis for the claim:
            CARLSBAD, NM 88220                                              TAXING AUTHORITY
            Date or dates debt was incurred                                 Is the claim subject to offset?
            VARIOUS                                                         þ No
                                                                            ¨ Yes
            Last 4 digits of account number:

 3.6        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            CITY OF GADSDEN REVENUE DEPARTMENT
            90 BROAD ST                                                     þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            GADSDEN, AL 35901                                               Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.7        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            CITY OF GADSDEN REVENUE DEPARTMENT
            PO BOX 267                                                      þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            GADSDEN, AL 35902-0267                                          Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 9
 Debtor                       Case 23-11469-BLS
            APP OF SOUTHERN NEW MEXICO ED, PLLC                 Doc 132          Filed Case
                                                                                       10/12/23
                                                                                            number     (if known)   Page   24 of 39
                                                                                                                      23-11562

            (Name)


  Part 2:   Additional Page

                                                                                                                                      Amount of claim

 3.8        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            CITY OF GALLUP CITY CLERK'S OFFICE
            110 WEST AZTEC, PO BOX 1270                                     þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            GALLUP, NM 87305                                                Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.9        Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            CITY OF HOPKINSVILLE
            MUNICIPAL BUILDING                                              þ Contingent
            715 S VIRGINIA ST                                               þ Unliquidated
                                                                            þ Disputed
            HOPKINSVILLE, KY 42240                                          Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.10       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            CITY OF HOPKINSVILLE
            PO BOX 707                                                      þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            HOPKINSVILLE, KY 42241-0707                                     Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.11       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            CITY OF ROSWELL
            421 N RICHARDSON                                                þ Contingent
            PO BOX DRAWER 1838                                              þ Unliquidated
                                                                            þ Disputed
            ROSWELL, NM 88202-1838                                          Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.12       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            CITY OF TUCSON COLLECTIONS SECTION
            255 W. ALAMEDA                                                  þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            TUCSON, AZ 85701                                                Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 9
 Debtor                       Case 23-11469-BLS
            APP OF SOUTHERN NEW MEXICO ED, PLLC                 Doc 132          Filed Case
                                                                                       10/12/23
                                                                                            number     (if known)   Page   25 of 39
                                                                                                                      23-11562

            (Name)


  Part 2:   Additional Page

                                                                                                                                      Amount of claim

 3.13       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            CITY OF TUCSON COLLECTIONS SECTION
            PO BOX 27320                                                    þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            TUCSON, AZ 85726-7320                                           Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.14       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            KALAMAZOO TOWNSHIP
            ATTN: SHERINE M. MILLER, TREASURER                              þ Contingent
            1720 RIVERVIEW DR                                               þ Unliquidated
                                                                            þ Disputed
            KALAMAZOO, MI 49004                                             Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.15       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            MANNSFELD, CHRISTIAN, MD
            ADDRESS REDACTED                                                þ Contingent
                                                                            þ Unliquidated
            Date or dates debt was incurred                                 þ Disputed
            VARIOUS                                                         Basis for the claim:
            Last 4 digits of account number:                                CONTINGENT PROVIDER CLAIM
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.16       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            MISSISSIPPI DEPARTMENT OF REVENUE
            500 CLINTON CENTER DR                                           þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            CLINTON, MS 39056                                               Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.17       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            NEW MEXICO TAXATION AND REVENUE
            1200 S ST FRANCIS DR, PO BOX 630                                þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            SANTA FE, NM 87504-0630                                         Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 9
 Debtor                       Case 23-11469-BLS
            APP OF SOUTHERN NEW MEXICO ED, PLLC                 Doc 132          Filed Case
                                                                                       10/12/23
                                                                                            number     (if known)   Page   26 of 39
                                                                                                                      23-11562

            (Name)


  Part 2:   Additional Page

                                                                                                                                      Amount of claim

 3.18       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            NORTH CAROLINA DEPT OF REVENUE
            501 N WILMINGTON ST                                             þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            RALEIGH, NC 27604                                               Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.19       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            OKLAHOMA TAX COMMISSION
            2501 N LINCOLN BLVD                                             þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            OKLAHOMA CITY, OK 73194                                         Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.20       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            PRESCOTT, STACY, MD
            ADDRESS REDACTED                                                þ Contingent
                                                                            þ Unliquidated
            Date or dates debt was incurred                                 þ Disputed
            VARIOUS                                                         Basis for the claim:
            Last 4 digits of account number:                                CONTINGENT PROVIDER CLAIM
                                                                            Is the claim subject to offset?
                                                                            þ No
                                                                            ¨ Yes

 3.21       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            STATE OF ARIZONA, DEPT OF REVENUE
            1600 W MONROE ST                                                þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            PHOENIX, AZ 85007                                               Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.22       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            STATE OF ARKANSAS, DEPT OF FINANCE AND
            ADMINISTRATION                                                  þ Contingent
            1900 W 7TH ST, RM 1040                                          þ Unliquidated
                                                                            þ Disputed
                                                                            Basis for the claim:
            LITTLE ROCK, AR 72201                                           TAXING AUTHORITY
            Date or dates debt was incurred                                 Is the claim subject to offset?
            VARIOUS                                                         þ No
                                                                            ¨ Yes
            Last 4 digits of account number:




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 5 of 9
 Debtor                       Case 23-11469-BLS
            APP OF SOUTHERN NEW MEXICO ED, PLLC                 Doc 132          Filed Case
                                                                                       10/12/23
                                                                                            number     (if known)   Page   27 of 39
                                                                                                                      23-11562

            (Name)


  Part 2:   Additional Page

                                                                                                                                      Amount of claim

 3.23       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            STATE OF DELAWARE, DIVISION OF REVENUE
            GEORGETOWN OFFICE, 20653 DUPONT BLVD, STE 2                     þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            GEORGETOWN, DE 19947                                            Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.24       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            STATE OF FLORIDA, DEPT OF REVENUE
            5050 W TENNESEE ST                                              þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            TALLAHASSEE, FL 32399                                           Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.25       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            STATE OF GEORGIA, DEPT OF REVENUE
            1800 CENTURY BLVD, NE, STE 12000                                þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            ATLANTA, GA 30345                                               Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.26       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            STATE OF ILLINOIS, DEPT OF REVENUE
            555 E MONROE ST, STE 1100                                       þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            CHICAGO, IL 60661                                               Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.27       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            STATE OF INDIANA, DEPT OF REVENUE
            100 N SENATE AVE, RM N105                                       þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            INDIANAPOLIS, IN 46204                                          Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 6 of 9
 Debtor                       Case 23-11469-BLS
            APP OF SOUTHERN NEW MEXICO ED, PLLC                 Doc 132          Filed Case
                                                                                       10/12/23
                                                                                            number     (if known)   Page   28 of 39
                                                                                                                      23-11562

            (Name)


  Part 2:   Additional Page

                                                                                                                                      Amount of claim

 3.28       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            STATE OF KENTUCKY, DEPT OF REVENUE
            501 HIGH ST                                                     þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            FRANKFORT, KY 40601                                             Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.29       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            STATE OF MICHIGAN, DEPT OF REVENUE
            430 W ALLEGAN ST                                                þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            LANSING, MI 48933                                               Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.30       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            STATE OF NEVADA, DEPT OF REVENUE
            1550 COLLEGE PKWY, STE 115                                      þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            CARSON CITY, NV 89706                                           Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.31       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            STATE OF OHIO, DEPT OF REVENUE
            4485 NORTHLAND RIDGE BLVD                                       þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            COLUMBUS, OH 43229                                              Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.32       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            STATE OF SOUTH CAROLINA, DEPT OF REVENUE
            300A OUTLET POINTE BLVD                                         þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            COLUMBIA, SC 29210                                              Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 7 of 9
 Debtor                       Case 23-11469-BLS
            APP OF SOUTHERN NEW MEXICO ED, PLLC                 Doc 132          Filed Case
                                                                                       10/12/23
                                                                                            number     (if known)   Page   29 of 39
                                                                                                                      23-11562

            (Name)


  Part 2:   Additional Page

                                                                                                                                      Amount of claim

 3.33       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            STATE OF VIRGINIA, DEPT OF REVENUE
            1957 WESTMORELAND ST                                            þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            RICHMOND, VA 23230                                              Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.34       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            TENNESSEE DEPT OF REVENUE
            500 DEADERICK ST                                                þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            NASHVILLE, TN 37242                                             Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.35       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
            LYNDON B JOHNSON STATE OFFICE BLDG                              þ Contingent
            111 E 17TH ST                                                   þ Unliquidated
                                                                            þ Disputed
            AUSTIN, TX 78774                                                Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.36       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            WATERFORD TOWNSHIP TREASURER
            5200 CIVIC CENTER DRIVE                                         þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            WATERFORD, MI 48329                                             Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes

 3.37       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                  UNDETERMINED
                                                                            Check all that apply.
            WILLIAMSON COUNTY TRUSTEE
            1320 W MAIN ST #203                                             þ Contingent
                                                                            þ Unliquidated
                                                                            þ Disputed
            FRANKLIN, TN 37064                                              Basis for the claim:
            Date or dates debt was incurred                                 TAXING AUTHORITY

            VARIOUS                                                         Is the claim subject to offset?
                                                                            þ No
            Last 4 digits of account number:                                ¨ Yes




Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 8 of 9
 Debtor                            Case 23-11469-BLS
             APP OF SOUTHERN NEW MEXICO ED, PLLC                       Doc 132        Filed Case
                                                                                            10/12/23
                                                                                                 number     (if known)   Page   30 of 39
                                                                                                                           23-11562

             (Name)


  Part 2:    Additional Page

                                                                                                                                                   Amount of claim

 3.38        Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:                           UNDETERMINED
                                                                                 Check all that apply.
             WILLIAMSON COUNTY TRUSTEE
             PO BOX 648                                                          þ Contingent
                                                                                 þ Unliquidated
                                                                                 þ Disputed
             FRANKLIN, TN 37065-0648                                             Basis for the claim:
             Date or dates debt was incurred                                     TAXING AUTHORITY

             VARIOUS                                                             Is the claim subject to offset?
                                                                                 þ No
             Last 4 digits of account number:                                    ¨ Yes




  Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims




 5.     Add the amounts of priority and nonpriority unsecured claims.



                                                                                                                                     Total of claim amounts



 5a.    Total claims from Part 1                                                                                           5a.                  NOT APPLICABLE




 5b.    Total claims from Part 2                                                                                           5b.   +                     UNKNOWN




 5c.    Total of Parts 1 and 2                                                                                             5c.                         UNKNOWN
        Lines 5a + 5b = 5c.




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 9 of 9
                                    Case 23-11469-BLS                    Doc 132           Filed 10/12/23               Page 31 of 39
  Fill in this information to identify the case:

 Debtor        APP OF SOUTHERN NEW MEXICO ED, PLLC


 United States Bankruptcy Court for the:   Delaware


 Case number         23-11562
  (if known)
                                                                                                                                                     ¨ Check if this is an
                                                                                                                                                        amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                                12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1.     Does the debtor have any executory contracts or unexpired leases?
        ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
               Form 206A/B).

 2.     List all contracts and unexpired leases                                                 State the name and mailing address for all other parties with
                                                                                                whom the debtor has an executory contract or unexpired lease


 2.1            State what the contract       MANAGEMENT SERVICES AGREEMENT                       AMERICAN PHYSICIAN HOLDINGS, LLC
                or lease is for and the                                                           5121 MARYLAND WAY STE 300
                nature of the debtor’s                                                            BRENTWOOD, TN 37027
                interest

                State the term remaining      CURRENT

                List the contract number
                of any government
                contract

 2.2            State what the contract       INDEPENDENT CONTRACTOR                              MANNSFELD, CHRISTIAN, MD
                or lease is for and the       PHYSICIAN AGREEMENT DTD 5/24/2019                   ADDRESS REDACTED
                nature of the debtor’s
                interest

                State the term remaining

                List the contract number
                of any government
                contract

 2.3            State what the contract       INDEPENDENT CONTRACTOR                              PRESCOTT, STACY, MD
                or lease is for and the       PHYSICIAN AGREEMENT DTD 5/24/2019                   ADDRESS REDACTED
                nature of the debtor’s
                interest

                State the term remaining

                List the contract number
                of any government
                contract




Official Form 206G                                       Schedule G: Executory Contracts and Unexpired Leases                                                     Page 1 of 1
                                    Case 23-11469-BLS                     Doc 132            Filed 10/12/23                Page 32 of 39
  Fill in this information to identify the case:

 Debtor        APP OF SOUTHERN NEW MEXICO ED, PLLC


 United States Bankruptcy Court for the:   Delaware


 Case number         23-11562
  (if known)
                                                                                                                                                        ¨ Check if this is an
                                                                                                                                                              amended filing

 Official Form 206H
 Schedule H: Codebtors                                                                                                                                                       12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.


 1.     Does the debtor have any codebtors?
        ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        þ Yes.

 2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
        creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
        schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                       Column 2: Creditor
                                                                                                                                                              Check all schedules
                Name                               Mailing Address                                                 Name
                                                                                                                                                              that apply

 2.1            ACCUTE CARE SPECIALIST,            5121 MARYLAND WAY STE 300                                       GOLDMAN SACHS SPECIALTY                    þ D
                LLC                                BRENTWOOD, TN 37027                                             LENDING GROUP L.P., AS                     ¨ E/F
                                                                                                                   ADMINISTRATIVE                             ¨ G

 2.2            ALIGN, M.D., PLLC                  5121 MARYLAND WAY STE 300                                       GOLDMAN SACHS SPECIALTY                    þ D
                                                   BRENTWOOD, TN 37027                                             LENDING GROUP L.P., AS                     ¨ E/F
                                                                                                                   ADMINISTRATIVE                             ¨ G

 2.3            AMERICAN PHYSICIAN                 5121 MARYLAND WAY STE 300                                       GOLDMAN SACHS SPECIALTY                    þ D
                HOLDINGS, LLC                      BRENTWOOD, TN 37027                                             LENDING GROUP L.P., AS                     ¨ E/F
                                                                                                                   ADMINISTRATIVE                             ¨ G

 2.4            AMERICAN PHYSICIAN                 5121 MARYLAND WAY STE 300                                       GOLDMAN SACHS SPECIALTY                    þ D
                PARTNERS, LLC                      BRENTWOOD, TN 37027                                             LENDING GROUP L.P., AS                     ¨ E/F
                                                                                                                   ADMINISTRATIVE                             ¨ G

 2.5            AMERICAN PHYSICIANS                5121 MARYLAND WAY STE 300                                       GOLDMAN SACHS SPECIALTY                    þ D
                PARTNERS PSO, LLC                  BRENTWOOD, TN 37027                                             LENDING GROUP L.P., AS                     ¨ E/F
                                                                                                                   ADMINISTRATIVE                             ¨ G

 2.6            APP AZ ED MEMBER 1, LLC            5121 MARYLAND WAY STE 300                                       GOLDMAN SACHS SPECIALTY                    þ D
                                                   BRENTWOOD, TN 37027                                             LENDING GROUP L.P., AS                     ¨ E/F
                                                                                                                   ADMINISTRATIVE                             ¨ G

 2.7            APP AZ ED MEMBER 2, LLC            5121 MARYLAND WAY STE 300                                       GOLDMAN SACHS SPECIALTY                    þ D
                                                   BRENTWOOD, TN 37027                                             LENDING GROUP L.P., AS                     ¨ E/F
                                                                                                                   ADMINISTRATIVE                             ¨ G

 2.8            APP AZ ED MEMBER 3, LLC            5121 MARYLAND WAY STE 300                                       GOLDMAN SACHS SPECIALTY                    þ D
                                                   BRENTWOOD, TN 37027                                             LENDING GROUP L.P., AS                     ¨ E/F
                                                                                                                   ADMINISTRATIVE                             ¨ G

 2.9            APP AZ ED MEMBER 4, LLC            5121 MARYLAND WAY STE 300                                       GOLDMAN SACHS SPECIALTY                    þ D
                                                   BRENTWOOD, TN 37027                                             LENDING GROUP L.P., AS                     ¨ E/F
                                                                                                                   ADMINISTRATIVE                             ¨ G

 2.10           APP AZ ED MEMBER 5, LLC            5121 MARYLAND WAY STE 300                                       GOLDMAN SACHS SPECIALTY                    þ D
                                                   BRENTWOOD, TN 37027                                             LENDING GROUP L.P., AS                     ¨ E/F
                                                                                                                   ADMINISTRATIVE                             ¨ G

 2.11           APP AZ ED MEMBER 6, LLC            5121 MARYLAND WAY STE 300                                       GOLDMAN SACHS SPECIALTY                    þ D
                                                   BRENTWOOD, TN 37027                                             LENDING GROUP L.P., AS                     ¨ E/F
                                                                                                                   ADMINISTRATIVE                             ¨ G



Official Form 206H                                                          Schedule H: Codebtors                                                                        Page 1 of 7
 Debtor                        Case 23-11469-BLS
             APP OF SOUTHERN NEW MEXICO ED, PLLC               Doc 132       Filed Case
                                                                                   10/12/23
                                                                                        number
                                                                                            (if known)   Page   33 of 39
                                                                                                           23-11562

             (Name)


        Additional Page if Debtor Has More Codebtors

        Column 1: Codebtor                                                               Column 2: Creditor
                                                                                                                            Check all schedules
             Name                            Mailing Address                               Name
                                                                                                                            that apply

 2.12        APP EMERGENCY ED TX,            5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             INC.                            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.13        APP HOLDCO, LLC                 5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.14        APP ICU, PLLC                   5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.15        APP MANAGEMENT CO.,             5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             LLC                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.16        APP MDPARTNERS OF GA,           5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             LLC                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.17        APP MDPARTNERS, PLLC            5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.18        APP OF ALABAMA ED, LLC          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.19        APP OF ALABAMA HM, LLC          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.20        APP OF ARIZONA ED, LLC          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.21        APP OF ARIZONA HM, LLC          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.22        APP OF ARKANSAS ED,             5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PLLC                            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.23        APP OF ARKANSAS HM,             5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PLLC                            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.24        APP OF CENTRAL FLORIDA          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             ED, LLC                         BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.25        APP OF EAST TENNESSEE           5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             ED, PLLC                        BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.26        APP OF EAST TENNESSEE           5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             HM, PLLC                        BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.27        APP OF FLORIDA ED, LLC          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.28        APP OF FLORIDA HM, LLC          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G



Official Form 206H                                             Schedule H: Codebtors                                                 Page 2 of 7
 Debtor                        Case 23-11469-BLS
             APP OF SOUTHERN NEW MEXICO ED, PLLC               Doc 132       Filed Case
                                                                                   10/12/23
                                                                                        number
                                                                                            (if known)   Page   34 of 39
                                                                                                           23-11562

             (Name)


        Additional Page if Debtor Has More Codebtors

        Column 1: Codebtor                                                               Column 2: Creditor
                                                                                                                            Check all schedules
             Name                            Mailing Address                               Name
                                                                                                                            that apply

 2.29        APP OF GEORGIA ED, LLC          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.30        APP OF ILLINOIS ED, PLLC        5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.31        APP OF ILLINOIS HM, PLLC        5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.32        APP OF INDIANA ED, PLLC         5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.33        APP OF INDIANA HM, PLLC         5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.34        APP OF KANSAS ED, PLLC          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.35        APP OF KANSAS HM, PLLC          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.36        APP OF KENTUCKY ED,             5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PLLC                            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.37        APP OF KENTUCKY HM,             5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PLLC                            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.38        APP OF MICHIGAN ED,             5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PLLC                            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.39        APP OF MISSISSIPPI ED           5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             LLC                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.40        APP OF MISSISSIPPI HM,          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             LLC                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.41        APP OF NEVADA ED, PLLC          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.42        APP OF NEW MEXICO ED,           5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PLLC                            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.43        APP OF NEW MEXICO HM,           5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PLLC                            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.44        APP OF NORTH CAROLINA           5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             ED, PLLC                        BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.45        APP OF NORTH CAROLINA           5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             HM, PLLC                        BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G



Official Form 206H                                             Schedule H: Codebtors                                                 Page 3 of 7
 Debtor                        Case 23-11469-BLS
             APP OF SOUTHERN NEW MEXICO ED, PLLC               Doc 132       Filed Case
                                                                                   10/12/23
                                                                                        number
                                                                                            (if known)   Page   35 of 39
                                                                                                           23-11562

             (Name)


        Additional Page if Debtor Has More Codebtors

        Column 1: Codebtor                                                               Column 2: Creditor
                                                                                                                            Check all schedules
             Name                            Mailing Address                               Name
                                                                                                                            that apply

 2.46        APP OF OHIO ED, PLLC            5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.47        APP OF OHIO HM, PLLC            5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.48        APP OF SOUTH CAROLINA           5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             ED, PLLC                        BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.49        APP OF SOUTH CAROLINA           5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             HM, PLLC                        BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.50        APP OF SOUTHERN                 5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             ARIZONA ED, LLC                 BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.51        APP OF SOUTHERN                 5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             ARIZONA HM, LLC                 BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.52        APP OF SOUTHERN NEW             5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             MEXICO HM, PLLC                 BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.53        APP OF TENNESSEE ED,            5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PLLC                            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.54        APP OF TENNESSEE HM,            5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PLLC                            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.55        APP OF WEST VIRGINIA ED,        5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PLLC                            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.56        APP OF WEST VIRGINIA HM,        5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PLLC                            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.57        APP OF WESTERN                  5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             KENTUCKY ED, PLLC               BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.58        APP TEXAS, PLLC                 5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.59        APPROVIDERS, LLC                5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.60        APPTEXASED, PLLC                5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.61        APPTEXASHM, PLLC                5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.62        CALEB CREEK                     5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             EMERGENCY PHYSICIANS,           BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
             PLLC                                                                          ADMINISTRATIVE                  ¨ G



Official Form 206H                                             Schedule H: Codebtors                                                 Page 4 of 7
 Debtor                         Case 23-11469-BLS
             APP OF SOUTHERN NEW MEXICO ED, PLLC               Doc 132       Filed Case
                                                                                   10/12/23
                                                                                        number
                                                                                            (if known)   Page   36 of 39
                                                                                                           23-11562

             (Name)


        Additional Page if Debtor Has More Codebtors

        Column 1: Codebtor                                                               Column 2: Creditor
                                                                                                                            Check all schedules
             Name                            Mailing Address                               Name
                                                                                                                            that apply

 2.63        CAPITAL EMERGENCY               5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PHYSICIANS LLC                  BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.64        CAPITAL EMERGENCY               5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PHYSICIANS MADISON LLC          BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.65        COOSA RIVER EMERGENCY           5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PHYSICIANS, PLLC                BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.66        DEGARA APP HM, PLLC             5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.67        DEGARA APP, PLLC                5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.68        DEGARA GARDEN CITY              5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             APP, PLLC                       BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.69        DEGARA GARDEN CITY,             5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PLLC                            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.70        DEGARA, P.L.L.C.                5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.71        ELITE EMERGENCY HOT             5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             SPRINGS, PLLC                   BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.72        ELITE EMERGENCY                 5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             MANAGEMENT, PLLC                BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.73        ELITE EMERGENCY                 5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             RUSSELLVILLE, PLLC              BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.74        ELITE EMERGENCY                 5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             SERVICES OF KENTUCKY,           BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
             PLLC                                                                          ADMINISTRATIVE                  ¨ G

 2.75        ELITE EMERGENCY SVC OF          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             KY, PLLC                        BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.76        ELITE EMERGENCY SVC OF          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             TN, PLLC                        BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.77        EMERGENCY SPECIALISTS           5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             OF WELLINGTON, LLC              BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.78        EMERGIGROUP PHYSICIAN           5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             ASSOCIATES, PLLC                BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.79        KALAMAZOO EMERGENCY             5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             ASSOCIATES, PLC                 BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G



Official Form 206H                                             Schedule H: Codebtors                                                 Page 5 of 7
 Debtor                        Case 23-11469-BLS
             APP OF SOUTHERN NEW MEXICO ED, PLLC               Doc 132       Filed Case
                                                                                   10/12/23
                                                                                        number
                                                                                            (if known)   Page   37 of 39
                                                                                                           23-11562

             (Name)


        Additional Page if Debtor Has More Codebtors

        Column 1: Codebtor                                                               Column 2: Creditor
                                                                                                                            Check all schedules
             Name                            Mailing Address                               Name
                                                                                                                            that apply

 2.80        KIRBY EMERGENCY                 5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PHYSICIANS, P.L.L.C.            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.81        LITTLE RIVER EMERGENCY          5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PHYSICIANS, PLLC                BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.82        LONGVIEW EMERGENCY              5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             MEDICINE ASSOCIATES,            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
             P.L.L.C., D/B/A LEADING                                                       ADMINISTRATIVE                  ¨ G
             EDGE MEDICAL
             ASSOCIATES, P.L.L.C.

 2.83        NETEP, PLLC                     5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
                                             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.84        NORTHEAST TENNESSEE             5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             EMERGENCY PHYSICIANS,           BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
             INC.                                                                          ADMINISTRATIVE                  ¨ G

 2.85        PROGRESSIVE MEDICAL             5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             ASSOCIATES, LLC                 BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.86        SAN JACINTO EMERGENCY           5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PHYSICIANS, PLLC                BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.87        ST. ANDREWS BAY                 5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             EMERGENCY PHYSICIANS,           BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
             PLLC                                                                          ADMINISTRATIVE                  ¨ G

 2.88        STONEY BROOK                    5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             EMERGENCY PHYSICIANS,           BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
             PLLC                                                                          ADMINISTRATIVE                  ¨ G

 2.89        TEP SELECT EMERGENCY            5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             SPECIALISTS PLLC                BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.90        TEXOMA EMERGENCY                5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             PHYSICIANS, PLLC                BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                           ADMINISTRATIVE                  ¨ G

 2.91        TOWN SQUARE                     5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             EMERGENCY ASSOCIATES,           BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
             PLLC                                                                          ADMINISTRATIVE                  ¨ G

 2.92        TRUEPARTNERS                    5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             COMANCHE EMERGENCY              BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
             SPECIALISTS LCC                                                               ADMINISTRATIVE                  ¨ G

 2.93        TRUEPARTNERS                    5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             EMERGENCY PHYSICIANS            BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
             LLC                                                                           ADMINISTRATIVE                  ¨ G

 2.94        TRUEPARTNERS                    5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             LAKEWOOD INPATIENT              BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
             SPECIALISTS LCC                                                               ADMINISTRATIVE                  ¨ G

 2.95        TRUEPARTNERS MANATEE            5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
             EMERGENCY SPECIALISTS           BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
             LCC                                                                           ADMINISTRATIVE                  ¨ G




Official Form 206H                                             Schedule H: Codebtors                                                 Page 6 of 7
 Debtor                         Case 23-11469-BLS
              APP OF SOUTHERN NEW MEXICO ED, PLLC               Doc 132       Filed Case
                                                                                    10/12/23
                                                                                         number
                                                                                             (if known)   Page   38 of 39
                                                                                                            23-11562

              (Name)


         Additional Page if Debtor Has More Codebtors

         Column 1: Codebtor                                                               Column 2: Creditor
                                                                                                                             Check all schedules
              Name                            Mailing Address                               Name
                                                                                                                             that apply

 2.96         TRUEPARTNERS                    5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
              NORTHWEST EMERGENCY             BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
              ASSOCIATES, PLLC                                                              ADMINISTRATIVE                  ¨ G

 2.97         TRUEPARTNERS RANCH              5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
              EMERGENCY SPECIALISTS           BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
              LCC                                                                           ADMINISTRATIVE                  ¨ G

 2.98         TRUEPARTNERS                    5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
              WESTLAKE EMERGENCY              BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
              SPECIALISTS LCC                                                               ADMINISTRATIVE                  ¨ G

 2.99         WEST HOUSTON                    5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
              EMERGENCY PHYSICIANS,           BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
              P.L.L.C.                                                                      ADMINISTRATIVE                  ¨ G

 2.100        WOODLANDS EMERGENCY             5121 MARYLAND WAY STE 300                     GOLDMAN SACHS SPECIALTY         þ D
              PHYSICIANS, PLLC                BRENTWOOD, TN 37027                           LENDING GROUP L.P., AS          ¨ E/F
                                                                                            ADMINISTRATIVE                  ¨ G




Official Form 206H                                              Schedule H: Codebtors                                                 Page 7 of 7
                                    Case 23-11469-BLS                      Doc 132              Filed 10/12/23                Page 39 of 39
  Fill in this information to identify the case:

 Debtor        APP OF SOUTHERN NEW MEXICO ED, PLLC


 United States Bankruptcy Court for the:    Delaware


 Case number         23-11562
  (if known)




 Official Form 202

 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
 the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
 and 3571.


                Delcaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          þ Schedule H: Codebtors (Official Form 206H)

          þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          ¨ Amended Schedule

          ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          ¨ Other document that requires a declaration

           I declare under penalty of perjury that the foregoing is true and correct.



           Executed on 10/12/2023
                           MM / DD / YYYY
                                                                 û      /s/ John C. DiDonato
                                                                        Signature of individual signing on behalf of debtor



                                                                        John C. DiDonato
                                                                        Printed name



                                                                        Chief Restructuring Officer
                                                                        Position or relationship to debtor




Official Form 202                                      Declaration Under Penalty of Perjury for Non-Individual Debtors
